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EXHIBIT A
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152. Defendants’ above-described conduct directly and proximately resulted in
increased payments by Plaintiff BCBS Oklahoma for Neurontin or generic bioequivalerits of
Neurontin.

153. The economic injury to Plaintiff BCBS Oklahoma can be determined through an
accurate account of payments for Neurontin and generic bioequivalents of Neurontin. Plaintiff
BCBS Oklahoma’s recovery will not pose a risk of double recovery.

154. As a direct and proximate result of Defendants’ above-described conduct,
Plaintiff BCBS Oklahoma is entitled to three times the actual damages sustained, in an amount to
be proven at trial, as well as reasonable attorney’s fees, disbursements and costs, against
Defendants, jointly and severally. Okla. Stat. tit. 79 § 201.

COUNT XIII

Unlawful Monopolization by Defendants In Violation
of New Jersey Law on Behalf of All Plaintiffs

155. Plaintiffs incorporate and reaver by reference the averments contained in the
preceding paragraphs 1 through 154.

156. As described above, Defendants knowingly and willfully engaged in a course of
conduct designed to unlawfully acquire and to unlawfully maintain and extend its monopoly
power. This course of conduct included filing baseless patent infringement lawsuits against
potential competitors seeking to manufacture and market generic bioequivalents of Neurontin.
The result of Defendants’ unlawful conduct was to injure competition in the market for
Neurontin or generic bioequivalents of Neurontin.

157. Defendant Pfizer possessed monopoly power in the relevant market.

158. Defendant Pfizer intentionally and wrongfully acquired and maintained its

monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market

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and attempted to monopolize the relevant market in violation of the New Jersey Antitrust Act.
N.J. Stat. Ann. § 56:9-4.

159. Plaintiffs and their self-funded customers have been injured in business or
property by reason of Defendants’ unlawful conduct. Their injuries consist of paying higher
prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in the
absence of that violation. Such injuries are of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

160.. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to three times their actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XIV

Unlawful Monopolization by Defendants In Violation of
District of Columbia Law on Behalf of Plaintiff CareFirst

161. Plaintiff CareFirst incorporates and reavers by reference the averments contained
in the preceding paragraphs 1 through 160.

162. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included, inter alia, a false, deceptive, and misleading
advertising and marketing campaign and misusing the legal and regulatory process. The result of
Defendant’s unlawful conduct was to injure competition in the market for Neurontin or generic
bioequivalents of Neurontin.

163. Defendant Pfizer possessed monopoly power in the relevant market.

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164. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of D.C. Code Ann. §§ 28-4503, et
seq.

165. Plaintiff CareFirst and its self-funded customers have been injured in business or
property by reason of Defendants’ unlawful conduct. Their injury consists of paying higher
prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in the
absence of that violation. Such injury is of the type antitrust laws were designed to prevent and
flows from that which makes Defendants’ conduct unlawful.

166. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XV

Unlawful Monopolization by Defendants In Violation of Florida
Antitrust Act of 1980 Law on Behalf of Plaintiff BCBS Florida

167. Plaintiff BCBS Florida incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 166.

168. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the

market for Neurontin or generic bioequivalents of Neurontin.

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169. Defendant Pfizer possessed monopoly power in the relevant market. Fla. Stat.
§ 542.19.

170. Defendant Pfizer willfully and wrongfully acquired and maintained its monopoly
power in an exclusionary manner in the relevant market, unlawfully conspired to monopolize the
relevant market and attempted to monopolize the relevant market in violation of the Florida
Antitrust Act of 1980. Fla. Stat. § 542.19.

171. Plaintiff BCBS Florida and its self-funded customers have been injured in
business or property by reason of Defendants’ unlawful conduct. Their injury consists of paying
higher prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in
the absence of that violation. Such injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

172. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XVI

Unlawful Monopolization by Defendants In Violation
of Iinois Law on Behalf of Plaintiffs HCSC and Trustmark

173. Plaintiffs HCSC and Trustmark incorporate and reaver by reference the averments
contained in the preceding paragraphs 1 through 172.

174, As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits

against potential competitors seeking to manufacture and market generic bioequivalents of

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Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

175. Defendant Pfizer possessed monopoly power in the relevant market.

176. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of the Illinois Antitrust Act. 740
Ill. Comp. Stat. § 10/3(3).

177. Plaintiffs HCSC and Trustmark and their self-funded customers have been injured
in business or property by reason of Defendants’ unlawful conduct. Their injury consists of
paying higher prices for Neurontin or generic bioequivalents of Neurontin than they would have
paid in the absence of that violation. Such injury is of the type antitrust laws were designed to
prevent and flows from that which makes Defendants’ conduct unlawful.

178. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to three times their actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XVII

Unlawful Monopolization by Defendants In Violation
of Louisiana Law on Behalf of Plaintiff BCBS Louisiana

179. Plaintiff BCBS Louisiana incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 178.

180. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its

monopoly power. This course of conduct included filing baseless patent infringement lawsuits

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against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

181. Defendant Pfizer possessed monopoly power in the relevant market.

182. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of La. Rev. Stat. Ann. §§ 51:137, et
seq.

183. Plaintiff BCBS Louisiana and its self-funded customers have been injured in
business or property by reason of Defendants’ unlawful conduct. Their injury consists of paying
higher prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in
the absence of that violation. Such injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

184. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XVIII

Unlawful Monopolization by Defendants In Violation of
Massachusetts Law on Behalf of Plaintiff BCBS Massachusetts

185. Plaintiff BCBS Massachusetts incorporates and reavers by reference the
averments contained in the preceding paragraphs 1 through 184.
186. As described above, Defendants knowingly and willfully engaged in a course of

conduct designed to unlawfully acquire and to unlawfully maintain and extend its monopoly

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power. This course of conduct included filing baseless patent infringement lawsuits against
potential competitors seeking to manufacture and market generic bioequivalents of Neurontin.
The result of Defendants’ unlawful conduct was to injure competition in the market for
Neurontin or generic bioequivalents of Neurontin.

187. Defendant Pfizer possessed monopoly power in the relevant market.

188. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of Mass. Gen. Laws. ch. 93A, et
seq.

189. Plaintiff BCBS Massachusetts and its self-funded customers have been injured in
business or property by reason of Defendants’ unlawful conduct. Their injury consists of paying
higher prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in
the absence of that violation. Such injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

190. As a direct and proximate result of Defendants’ unlawful conduct, BCBS
Massachusetts has suffered damages in an amount not yet determined, together with all interest
accruing thereon and costs of suit, including, but not limited to, attorneys’ fees.

COUNT XIX Jo

Unlawful Monopolization by Defendants In Violatio
of Michigan Law on Behalf of Plaintiff BCBS Michigan

191. Plaintiff BCBS Michigan incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 190.
192. As described above, Defendant Pfizer knowingly and willfully engaged in a

course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its

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monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

193. Defendant Pfizer possessed monopoly power in the relevant market.

194. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
_ and attempted to monopolize the relevant market in violation of Mich. Comp. Laws §§ 445.771,
et seq..

195. Plaintiff BCBS Michigan and its self-funded customers have been injured in
business or property by reason of Defendants’ unlawful conduct. Their injury consists of paying
higher prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in
the absence of that violation. Such injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

196. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XX

Unlawful Monopolization by Defendants In Violation of
Minnesota Law on Behalf of Plaintiffs BCBS Minnesota and Federated Insurance

197. Plaintiffs BCBS Minnesota and Federated Insurance incorporate and reaver by

reference the averments contained in the preceding paragraphs 1 through 196.

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198. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

199. Defendant Pfizer possessed monopoly power in the relevant market.

200. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of Minn. Stat. §§ 325D.52 et seg..

201. Plaintiffs BCBS Minnesota and Federated Insurance and their self-funded
customers have been injured in business or property by reason of Defendants’ unlawful conduct.
Their injury consists of paying higher prices for Neurontin or generic bioequivalents of
Neurontin than they would have paid in the absence of that violation. Such injury is of the type
antitrust laws were designed to prevent and flows from that which makes Defendants’ conduct
unlawful.

202. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to three times their actual damages sustained, in an amount to be determined at trial,

together with all interest accruing thereon and costs of suit, including, but not limited to,

attorneys’ fees.

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COUNT XXI

Unlawful Monopolization by Defendants In Violation
of Nebraska Law on Behalf of Plaintiff Mutual of Omaha

203. Plaintiff Mutual of Omaha incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 202.

204. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

205. Defendant Pfizer possessed monopoly power in the relevant market.

206. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of Neb. Rev. Stat. § 59-802.

207. Plaintiff Mutual of Omaha and its self-funded customers have been injured in
business or property by reason of Defendants’ unlawful conduct. Their injury consists of paying
higher prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in
the absence of that violation. Such injury is of the type antitrust laws were designed to prevent
and flows from that which makes Defendants’ conduct unlawful.

208. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,

together with all interest accruing thereon and costs of suit, including, but not limited to,

attorneys’ fees.

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COUNT XXII

Unlawful Monopolization by Defendants In Violation
of New Mexico Law on Behalf of Plaintiff HCSC

209. Plaintiff HCSC incorporates and reavers by reference the averments contained in
the preceding paragraphs 1 through 208.

210. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

211. Defendant Pfizer possessed monopoly power in the relevant market.

212. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of N.M. Stat. Ann. §§ 57-1-1 ef
seq.

213. Plaintiff HCSC and its self-funded customers have been injured in business or
property by reason of Defendants’ unlawful conduct. Their injury consists of paying higher
prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in the
absence of that violation. Such injury is of the type antitrust laws were designed to prevent and
flows from that which makes Defendants’ conduct unlawful.

214. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is

entitled to three times its actual damages sustained, in an amount to be determined at trial,

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together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.
COUNT XxII

Unlawful Monopolization by Defendants In Violation of
New York Law on Behalf of Plaintiffs WellChoice and Excellus

215. Plaintiffs WellChoice and Excellus incorporate and reavers by reference the
averments contained in the preceding paragraphs 1 through 214.

216. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

217. Defendant Pfizer possessed monopoly power in the relevant market.

218. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of New York General Business
Law. N.Y. Gen. Bus. Law § 340 et seq..

219. Plaintiffs and their self-funded customers have been injured in business or
property by reason of Defendants’ unlawful conduct. Their injury consists of paying higher
prices for Neurontin or generic bioequivalents of Neurontin than they would have paid in the

absence of that violation. Such injury is of the type antitrust laws were designed to prevent and

flows from that which makes Defendants’ conduct unlawful.

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220. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to three times their actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XXIV

Unlawful Monopolization by Defendants In Violation
of Oklahoma Law on Behalf of Plaintiff BCBS Oklahoma

221. Plaintiff BCBS Oklahoma incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 220.

222. As described above, Defendant Pfizer knowingly and willfully engaged in a
course of conduct designed to unlawfully acquire and to unlawfully maintain and extend its
monopoly power. This course of conduct included filing baseless patent infringement lawsuits
against potential competitors seeking to manufacture and market generic bioequivalents of
Neurontin. The result of Defendant Pfizer’s unlawful conduct was to injure competition in the
market for Neurontin or generic bioequivalents of Neurontin.

223. Defendant Pfizer possessed monopoly power in the relevant market.

224. Defendant Pfizer intentionally and wrongfully acquired and maintained its
monopoly power in the relevant market, unlawfully conspired to monopolize the relevant market
and attempted to monopolize the relevant market in violation of the Oklahoma Antitrust Reform
Act. Okla. Stat. tit, 79, § 203.

225. Plaintiff BCBS Oklahoma has been injured in business or property by reason of
Defendants’ unlawful conduct. Their injury consists of paying higher prices for Neurontin or

generic bioequivalents of Neurontin than they would have paid in the absence of that violation.

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Such injury is of the type antitrust laws were designed to prevent and flows from that which
makes Defendants’ conduct unlawful.

226. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff is
entitled to three times its actual damages sustained, in an amount to be determined at trial,
together with all interest accruing thereon and costs of suit, including, but not limited to,
attorneys’ fees.

COUNT XXV

Unfair and Deceptive Trade Practices by Defendants In Violation
of New Jersey Consumer Fraud Act on Behalf of All Plaintiffs

227. All Plaintiffs hereby incorporate and reaver by reference the averments contained
in the preceding paragraphs 1 through 226.

228. The New Jersey Consumer Fraud Act, NJ.S.A. § 56:8-1, et seq., (2004)
(“NJCFA”) is designed to protect consumers such as Plaintiffs and their self-funded employer
groups from fraudulent and deceptive practices. The above-described Defendants’ acts and
practices fall into the types of acts or practices the NJCFA was created to prevent.

229. Plaintiffs are “persons,” within the meaning of N.J. Rev. Stat. § 56:8-1(d).

230. Defendants are “persons,” within the meaning of N.J. Rev. Stat. § 56:8-1(d).

231. Neurontin and generic bioequivalents of Neurontin are “merchandise,” within the
meaning of N.J. Rev. Stat. § 56:8-1(c).

232. Defendants engaged in “sales,” within the meaning of N.J. Rev. Stat. § 56:8-1(e).

233. The marketing and sale of brand name prescription drugs, including Neurontin or
generic bioequivalents of Neurontin, to the public at large and the concomitant reimbursement
for all or a portion of prescription drugs by Plaintiffs and their self-funded employer groups

constitute consumer transactions subject to the NJCFA.

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234. In violation of the NJCFA, the Defendants engaged in unfair, fraudulent, and
deceptive acts and practices in connection with the marketing and sale of merchandise, namely
the brand name prescription drug Neurontin. N.J.S.A. § 56:8-2.

235. Defendants have used fraudulent, deceptive, and unconscionable commercial
marketing and sales practices for Neurontin or generic bioequivalents of Neurontin and have
fraudulently and knowingly concealed, suppressed, misled, and/or omitted material facts from
Plaintiffs regarding Neurontin, thereby causing Plaintiffs and their self-funded employer groups
to pay substantially higher prices for Neurontin or generic bioequivalents of Neurontin or
otherwise suffer damages.

236. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs are
entitled to an award of all damages, including, but not limited to, Plaintiffs’ losses, Defendants’
ill-gotten profits, treble damages, interest, and reimbursement of all costs, attorneys’ fees, and

expenses incurred by Plaintiffs in this action.
COUNT XXVI

Unfair and Deceptive Trade Practices by Defendants In Violation of
the Delaware Consumer Fraud Act on Behalf of Plaintiff CareFirst

237. Plaintiff (“CareFirst”) incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 236.

238. Defendants have violated the Delaware Consumer Fraud Act, Del. Code tit. 6
§§ 2511 et seq. (2004), by intentionally and/or negligently acting, using, or employing deception,
fraud, false pretense, false promise, or misrepresentation, and the concealment, suppression, or
omission of a material fact, in connection with the sale of merchandise.

239. Plaintiff CareFirst is a “person,” within the meaning of Del. Code tit. 6 § 2511(5).

240. Defendants are “persons,” within the meaning of Del. Code tit. 6 § 2511(5).

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241. Gabapentin prescription drug products are “merchandise” within the meaning of
Del. Code tit. 6 § 2511(4).

242. Defendants engaged in “sales,” within the meaning of Del. Code tit. 6 § 2511(6).

243. Defendants’ unlawful practices as herein alleged were gross, oppressive, and
aggravated.

244. As a direct and proximate result of Defendants’ unlawful practices, Plaintiff
CareFirst has suffered significant losses and costs, and will continue to do so.

245. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
CareFirst is entitled to an award of all damages, including, but not limited to, Plaintiff's losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action, including interest and attorneys’ fees.

COUNT XXVII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Delaware
Uniform Deceptive Trade Practices Act on Behalf of Plaintiff CareFirst

246. Plaintiff CareFirst incorporates and reavers by reference the averments contained
in the preceding paragraphs 1 through 245.

247. Defendants have violated the Delaware Uniform Deceptive Trade Practices Act,
Del. Code Ann. tit. 6, §§ 2531 et seq. (2004), by willfully, or with reason to know, engaging in
deceptive trade practices in the course of their businesses.

248. Plaintiff CareFirst is a “person,” within the meaning of Del. Code Ann. tit. 6,
§ 2531(5).

249, Defendants are “persons,” within the meaning of Del. Code Ann. tit. 6, § 2531(5).

250. Defendants have engaged in deceptive trade practices by willfully, or with reason

to know, in the course of Defendants’ businesses:

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(a) Causing likelihood of confusion as to the source, sponsorship, approval, or
certification of goods. Del. Code Ann. tit. 6, § 2532(2).

(b) Causing likelihood of confusion as to affiliation, connection, or
association with or certification by another. Del. Code Ann. tit. 6, § 2532(3).

(c) Representing that goods have sponsorship, approval, or characteristics that
they do not have, or that a person has sponsorship, approval, status, affiliation, or
connection that it does not have. Del. Code Ann. tit. 6, § 2532(5).

(d) Engaging in conduct as herein alleged that similarly creates a likelihood of
confusion or misunderstanding. Del. Code Ann. tit. 6, § 2532(12).

251. As a direct and proximate result of Defendants’ deceptive trade practices, Plaintiff
CareFirst has suffered significant losses and costs and will continue to do so.

252. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
CareFirst is entitled to an award of all damages, including, but not limited to, Plaintiff's losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action.

COUNT XXVIII

Unfair and Deceptive Trade Practices by Defendants In Violation of the District of
Columbia Consumer Protection Procedures Act on Behalf of Plaintiff CareFirst

253. Plaintiff CareFirst (“CareFirst”) incorporates and reavers by reference the
averments contained in the preceding paragraphs 1 through 252.

254. Defendants have violated the District of Columbia Consumer Protection
Procedures Act, D.C. Code § 28-3901 et seq. (2004), by engaging in unlawful trade practices.

255. Plaintiff CareFirst is a “person,” within the meaning of D.C. Code § 28-
3901(a)(1).

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256. Defendants are “persons” within the meaning of D.C. Code § 28-3901(a)(1).

_ 257. Neurontin and generic bioequivalents of Neurontin are “goods or services” within
the meaning of D.C. Code § 28-3901(a)(7).

258. Defendants’ acts were “trade practices” within the meaning of D.C. Code § 28-
3901(a)(6).

259. Defendants have engaged in unlawful trade practices, by knowingly, or failing to
exercise due care in knowing, that they were:

(a) Representing that Neurontin had sponsorship or approval that it did not
have;

(b) Representing that Defendants had sponsorship, approval, status,
affiliation, connection, qualifications, or license that they did not have; and

(c) Engaging in a campaign of misrepresentation and misinformation
concerning the Neurontin and generic bioequivalents of Neurontin.

260. As a direct and proximate result of Defendants’ unlawful trade practices in the
conduct of trade or commerce, Plaintiff CareFirst has suffered significant losses and costs, and
will continue to do so.

261. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
CareFirst is entitled to an award of all damages, including, but not limited to, Plaintiff’s losses,
Defendants’ ill-gotten profits, treble or punitive damages, interest, and reimbursement of all

costs attorneys’ fees, and expenses incurred by Plaintiff in this action.

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COUNT XXIX

Unfair and Deceptive Trade Practices by Defendants In Violation of the Florida .
Deceptive and Unfair Trade Practices Act on Behalf of Plaintiff BCBS Florida

262. Plaintiff BCBS Florida incorporates and reavers by reference the averments
contained in the preceding paragraphs 1 through 261.
263. Defendants have violated the Florida Deceptive and Unfair Trade Practices Act,
Fla. Stat. §§ 501.201 et seq. (2003), by knowingly, or with reason to know, engaging in unfair
competition, unconscionable acts or practices, and unfair or deceptive acts in the conduct of any
trade or commerce.
264. Defendants’ acts were in the conduct of “trade” or “commerce,” within of the
meaning of Fla. Stat. § 501.203(8).
265. Defendants’ unlawful conduct included, but is not limited to, violations of the
following:
(a) Any rules promulgated pursuant to the Federal Trade Commission Act, 15
U.S.C. §§ 41 et seq.;
(b) =‘ The standards of unfairness and deception set forth and interpreted by the
Federal Trade Commission or the federal courts;
(c) Any law, statute, rule, regulation, or ordinance that proscribes unfair
* methods of competition, or unfair, deceptive, or unconscionable acts or practices.
266. Asa direct and proximate result of Defendants’ unfair competition,
unconscionable acts or practices, and unfair or deceptive acts in the conduct of any trade or

commerce, Plaintiff BCBS Florida has suffered significant losses and costs and will continue to

do so.

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267. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiff BCBS
Florida is entitled to an award of all damages, including, but not limited to, Plaintiffs losses,
Defendants’ ill-gotten profits, interest, and reimbursement of all costs, attorneys’ fees, and
expenses incurred by Plaintiff in this action.

COUNT XXX

Unfair and Deceptive Trade Practices by Defendants In Violation of the IMinois Consumer
Fraud and Deceptive Business Practices Act on Behalf of Plaintiffs HCSC and Trustmark

268. Plaintiffs HCSC and Trustmark incorporate and reaver by reference the averments
contained in the preceding paragraphs 1 through 267.

269. Defendants have violated the Illinois Consumer Fraud and Deceptive Business
Practices Act, § 815 Ill. Comp. Stat. 505/1 et seg. (2004), by engaging in the above-described
unfair methods of competition and unfair and deceptive trade practices and acts.

270. Plaintiffs HCSC and Trustmark are “persons,” within the meaning of § 815 IIL.
Comp. Stat. 505/1(c).

271. . Defendants are “persons,” within the meaning of § 815 Il]. Comp. Stat. 505/1(c).

272. Neurontin and generic bioequivalents of Neurontin are “merchandise,” within the
meaning of § 815 Il]. Comp. Stat. 505/1(b).

273. Defendants engaged in “sales,” within the meaning of § 815 Ill. Comp. Stat.
505/1(d).

274. Defendants’ acts were in the conduct of “trade” and “commerce,” within the
meaning of § 815 Ill. Comp. Stat. 505/1(f).

275. Defendants have engaged in unfair methods of competition and unfair or

deceptive acts or practices, knowingly, or failing to exercise due care by:

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